                  6:20-cv-00152-RAW Document 224-4 Filed in ED/OK on 01/21/22 Page 1 of 1

                                                              NOT|FTCATION OF EMPLOYMENT/TERMINATION
Councll on Law Enforcement Educttion and Tralnlng
2401 Egvpt Road, Ada, oklahoma 74820-0669 Phone:                        405'239'5100 Fax: 405'239-5190
                                               crlM   PL[ft Ail" &HftutRt0                         COt*{PlfTt       tlfHtR          TIME OR RESI RVI
                    Notlc* ol                                          of Termlnation                                    Head

I       futr'rtrue    oFFlc€R {over 25 hours per week}                                              I   RtsrRys oFficlfi (140 hours or less par monthl
        [     ruot Certifled - Needs Training                                                           n       Not Certlfled - Needs Training
        f     Certified in     Oklahoma       CLEET #                                                   n       Certified in 0klahoma CLEET #
              !     our ovrn s YEARS                                                                            I       our ovrn   s YEARS
        n     Certifled ln Another State - Requesting Reciprocity                                       n       Certifled in Another State- Requestlng Reclprocity
        fl    Requesting Collegiate Officer Program Certificatlon                                       f       Requestlng Collegiate officer Program certification

        I     CertifieO oklahoma Reserve CLEET #
              I     Requestlng Bridge Academy
A6ENCY DATA
Name of      Agency. WIISON              PPLICE,DEIT---                                                                         Agency E-Mail:     kcoleywilson3@gmail, com

Address       1065 US HWY 7OA                                                 Cityi WILSON                                      21p1   73463      6ounst. CARTER

Department or Agency Head: Kevln Coley                                                         Tltle:   CHIEF                                    Telephone 580-668-21 36

EMPTOYEE DATA

Last Name: Hernandez                                            First Name: Felix                               n,tt:   Y    sex:      Mffirf]           DoB:

                                                        Eace:    H                        Home Phone:
SSN:

Home Address: PO Box 732
                                                                                           Wilson                                            state:9[-         zrp'   E9--
SMPLOYEE ATTESTATIONT
Oote af Appointrncnt:                                                         Pssrtioo:
r   I am at least 21 years         of age;
                                                                          -
.lamaU,s,citlzenorhaveresldentalienstatus,pursuanttoanemploymentellgibilityverlflcatlonformfromtheU.S.citlzenshlpandlmmigrationServices;
.   I possess a hlgh school diploma or a GED equivalency certiflcat€ as recognized bY state law;
I   I am notcurrently undergoing treatment for a mental lllness, condltlon, or disorder;
r   I have never been convlcted of a felony, crime of moral turpitude, or crime of domestlc violence in any state or federal court;
r  lamnotsurrentlyparticipatinginadeferredsentenceforafelony,crimeof            moral turpltude,orcrlmeofdomestlcvlolence.
I certify the informatlon  provlded  by me ls  correct and accurate.   I  understand  that any false statement may be a crime punlshable by flne and/or
                                                                                                                                                   this
imprlsonment, I hereby authorlze the Council on Law Enforcement Educatlon and Tralning or other authorlzed representatives of the Councll bearing
form or a copy thereof/ to release any information entered on this form  to any law enforcement  agency'

Original 5lgnature of EmPloyee:                                                                                                                      Date;

AGENCY ADMINISTRATOR                  Afi    ESTATION
,   fu the Agency Administrator or Designee, I certify to the council that a background investl8atlon was completed on the named employee
                                                                                                                                                    in accordance
    with 70 o.s. $3311 (E.1.) prior to employment as a peace offlcer or reserve peace officer,
.   As the Agency Adrnlnistrator or Designee, I certify to the Councll that a psychologlcal evaluation was conducted ln accordance with the
                                                                                                                                                  provislons of 70
    o.s, 3311, or I have verlfied a psychologtcal evaluatlon was completed for a CLEET certifled
         g                                                                                       peace officer wlth a break ln servlce of less than flve years.
I   AstheAgencyAdmlnlstratororDesignee, lcertlfytothecouncll thatthenamedemployee/applicantlssultabletoserveasapeaceofflcerinthestateof
    Oklahoma,
lcerflfythelnformailonprovldedbymyagencyonthisdocumentiscorrectandaccurate.                                         lunderstandthatanyfalsestatementmaybeacrlmepunlshable
by fine and/or imprisonment, I understand that CLEET will rely on my attestatlon'
originalsignatureofAgencyAdmlnlstratororDe5ignee:
Print Name and Tltle:

70 o.s, S3311        - Every tsw        enlercement agency tn thts state shott, wtthln thttty (3ol days ol a final order ol te,fiindtlon or reslgnatlon while under
lnvesttgitlon ol o cLEET-ceftllted peoce offlcer, report       such order or reslgnotton in wilttng to the Executive Olredot of the Councll'

Dil(€ of Ternlioatlon: 07t24120'17

     fl      nesigned      I        oischarged         Hil netired    n   oeceased        f,    ott'et, explain below

     Comments:



Original Signature of Agency Admlnistrator or Designee:                                                                                              oate:     6,* t Z(a t .!?
Prlnt             and Tltle:    Kevin                 CHIEF

sworn and subscribed netore me thts               Jhfrday       of                               20/7       .




       d-**                                                                   l\4y Commission #         lo                                          exprres;   A,6    J-J    o.-J&O,!j.
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